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                                                              L.B.F. 3015.1

                                           UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF PENNSYLVANIA
                                                   READING DIVISION

In re:    Fred Michael Salgado                                                 Chapter:    13

                                                                               Case No.:
                                 Debtor(s)

                                                           Chapter 13 Plan

             Original
                             Amended
Date:       05/19/2022

                                             THE DEBTOR HAS FILED FOR RELIEF UNDER
                                              CHAPTER 13 OF THE BANKRUPTCY CODE

                                                  YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust
debts. You should read these papers carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY
PROVISION OF THIS PLAN MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule
3015-4. This Plan may be confirmed and become binding, unless a written objection is filed.

                                  IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                 MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                              NOTICE OF MEETING OF CREDITORS.


 Part 1: Bankruptcy Rule 3015.1(c) Disclosures

         Plan contains non-standard or additional provisions -- see Part 9
         Plan limits the amount of secured claim(s) based on value of collateral -- see Part 4
         Plan avoids a security interest or lien -- see Part 4 and/or Part 9

 Part 2: Plan Payment, Length and Distribution -- PARTS 2(c) and 2(e) MUST BE COMPLETED IN EVERY CASE

   § 2(a) Plan Payments (For Initial and Amended Plans):
         Total Length of Plan:        60        months.

         Total Base Amount to be paid to the Chapter 13 Trustee ("Trustee")     $67,200.00
         Debtor shall pay the Trustee    $1,120.00      per month for      60    months and then
         Debtor shall pay the Trustee                   per month for the remaining            months;

                                                            or
         Debtor shall have already paid the Trustee                           through month number
         and then shall pay the Trustee                          per month for the remaining         months.


             Other changes in the scheduled plan payment are set forth in § 2(d)

   § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages
          (Describe source, amount and date when funds are available, if known):




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   § 2(c) Alternative treatment of secured claims:
                 None.    If "None" is checked, the rest of § 2(c) need not be completed.
                 Sale of real property
                 See § 7(c) below for detailed description

                 Loan modification with respect to mortgage encumbering property:
                 See § 4(f) below for detailed description

   § 2(d) Other information that may be important relating to the payment and length of Plan:


   § 2(e) Estimated Distribution:
          A. Total Priority Claims (Part 3)
              1. Unpaid attorney's fees                                              $2,000.00
              2. Unpaid attorney's costs                                                 $0.00
              3. Other priority claims (e.g., priority taxes)                            $0.00
          B. Total distribution to cure defaults (§ 4(b))                                $0.00
          C. Total distribution on secured claims (§§ 4(c) and (d))                      $0.00
          D. Total distribution on general unsecured claims (Part 5)                $58,480.00
                                         Subtotal                                   $60,480.00
          E. Estimated Trustee's Commission                                          $6,720.00
          F. Base Amount                                                            $67,200.00

   §2(f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)
             By checking this box, Debtor's counsel certifies that the information contained in Counsel's Disclosure of
             Compensation [Form B2030] is accurate, qualifies counsel to receive compensation pursuant to
             L.B.R. 2016-3(a)(2), and requests this Court approve counsel's compensation in the total amount of
                 $3,287.00    , with the Trustee distributing to counsel the amount stated in § 2(e)A.1. of the Plan.
             Confirmation of the plan shall constitute allowance of the requested compensation.

 Part 3: Priority Claims

   § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees
   otherwise:


  Creditor                                            Claim        Type of Priority                Amount to be Paid by Trustee
                                                      Number
  Zachary Zawarski, Esq.                                           Attorney Fees                              $2,000.00

   § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

       None.      If "None" is checked, the rest of § 3(b) need not be completed.

       The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is
       owed to a governmental unit and will be paid less than the full amount of the claim. This plan provision requires that
       payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).

  Name of Creditor                                                      Claim Number               Amount to be Paid by Trustee




                                                                    2
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 Part 4: Secured Claims

   § 4(a) Secured Claims Receiving No Distribution from the Trustee:
       None.      If "None" is checked, the rest of § 4(a) need not be completed.

   Creditor                                                                        Claim       Secured Property
                                                                                   Number
       If checked, the creditor(s) listed below will receive no distribution                   608 Main Street, Hellertown, PA 18055
       from the trustee and the parties' rights will be governed by
       agreement of the parties and applicable nonbankruptcy law.

   Bank of America
       If checked, the creditor(s) listed below will receive no distribution                   2009 Dodge Ram 1500
       from the trustee and the parties' rights will be governed by
       agreement of the parties and applicable nonbankruptcy law.

   People First Federal Credit Union

   § 4(b) Curing default and maintaining payments

       None.      If "None" is checked, the rest of § 4(b) need not be completed.
   The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall pay
   directly to creditor monthly obligations falling due after the bankruptcy filing in accordance with the parties' contract.


   Creditor                                                Claim               Description of Secured Property and        Amount to be
                                                           Number              Address, if real property                  Paid by
                                                                                                                          Trustee




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   § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-confirmation determination of the
   amount, extent or validity of the claim

       None.     If "None" is checked, the rest of § 4(c) need not be completed.

   (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the
   plan.

   (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to determine the amount,
   extent or validity of the allowed secured claim and the court will make its determination prior to the confirmation hearing.

   (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general unsecured claim under
   Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

   (4) In addition to payment of the allowed secured claim, "present value" interest pursuant to 11 U.S.C. § 1325(a)(5)(B)(ii) will
   be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for "present
   value" interest in its proof of claim or otherwise disputes the amount provided for "present value" interest, the claimant must
   file an objection to confirmation.

   (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and release the
   corresponding lien.

  Name of Creditor             Claim      Description of Secured         Allowed          Present      Dollar            Amount to
                               Number     Property                       Secured          Value        Amount            be Paid by
                                                                         Claim            Interest     of Present        Trustee
                                                                                          Rate         Value
                                                                                                       Interest

   § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506

       None.     If "None" is checked, the rest of § 4(d) need not be completed.
   The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase money
   security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1 year of the petition
   date and secured by a purchase money security interest in any other thing of value.

   (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion of payments
   under the plan.

   (2) In addition to payment of the allowed secured claim, "present value" interest pursuant to 11 U.S.C. § 1325(a)(5)(B)(ii)
   will be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for
   "present value" interest in its proof of claim, the court will determine the present value interest rate and amount at the
   confirmation hearing.

  Name of Creditor             Claim      Description of Secured         Allowed          Present      Dollar            Amount to
                               Number     Property                       Secured          Value        Amount            be Paid by
                                                                         Claim            Interest     of Present        Trustee
                                                                                          Rate         Value
                                                                                                       Interest




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   § 4(e) Surrender

         None.   If "None" is checked, the rest of § 4(e) need not be completed.
   (1) Debtor elects to surrender the secured property listed below that secures the creditor's claim.
   (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property terminates upon
   confirmation of the Plan.
   (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

   Creditor                                                 Claim Number       Secured Property


   § 4(f) Loan Modification

         None.   If "None" is checked, the rest of § 4(f) need not be completed.

   (1) Debtor shall pursue a loan modification directly with
   or its successor in interest or its current servicer ("Mortgage Lender"), in an effort to bring the loan current and resolve the
   secured arrearage claim.

   (2) During the modification application process, Debtor shall make adequate protection payments directly to Mortgage
   Lender in the amount of                  per month, which represents
   (describe basis of adequate protection payment). Debtor shall remit the adequate protection payments directly to the
   Mortgage Lender.

   (3) If the modification is not approved by                    (date), Debtor shall either (A) file an amended Plan to otherwise
   provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the automatic stay with
   regard to the collateral and Debtor will not oppose it.

 Part 5: General Unsecured Claims

   § 5(a) Separately classified allowed unsecured non-priority claims

         None.   If "None" is checked, the rest of § 5(a) need not be completed.

   Creditor /                                                  Claim        Treatment                                Amount to be
   Basis for Separate Classification                           Number                                                Paid by Trustee

   § 5(b) Timely filed unsecured non-priority claims
   (1)    Liquidation Test (check one box)
               All Debtor(s) property is claimed as exempt.
               Debtor(s) has non-exempt property valued at      $47,188.88       for purposes of § 1325(a)(4) and plan
               provides for distribution of    $60,480.00   to allowed priority and unsecured general creditors.

   (2)    Funding: § 5(b) claims to be paid as follows (check one box):
               Pro rata
               100%
               Other (Describe)




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 Part 6: Executory Contracts and Unexpired Leases

       None.     If "None" is checked, the rest of § 6 need not be completed.

   Creditor                                     Claim        Nature of Contract or Lease             Treatment by Debtor Pursuant
                                                Number                                               to § 365(b)


 Part 7: Other Provisions

   § 7(a) General principles applicable to the Plan
   (1) Vesting of Property of the Estate (check one box)
               Upon confirmation
               Upon discharge
   (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. § 1322(a)(4), the amount of a creditor's claim listed in its proof of claim
   controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

   (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B), (C)
   shall be disbursed to the creditors by the debtor directly. All other disbursements to creditors shall be made by the Trustee.

   (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is the plaintiff, before
   the completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a
   special Plan payment to the extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor
   and the Trustee and approved by the court.

   § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor's principal residence
   (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

   (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as
   provided for by the terms of the underlying mortgage note.

   (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding
   the imposition of late payment charges or other default-related fees and services based on the pre-petition default or
   default(s). Late charges may be assessed on post-petition payments as provided by the terms of the mortgage and note.

   (4) If a secured creditor with a security interest in the Debtor's property sent regular statements to the Debtor pre-petition,
   and the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume
   sending customary monthly statements.

   (5) If a secured creditor with a security interest in the Debtor's property provided the Debtor with coupon books for payments
   prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this
   case has been filed.

   (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

   § 7(c) Sale of Real Property

       None.     If "None" is checked, the rest of § 7(c) need not be completed.
   (1) Closing for the sale of
   (the "Real Property") shall be completed within                    months of the commencement of this bankruptcy case (the "Sale
   Deadline"). Unless otherwise agreed by the parties or provided by the Court, each allowed claim secured by the Real
   Property will be paid in full under § 4(b)(1) of the Plan at the closing ("Closing Date").

   (2) The Real Property will be marketed for sale in the following manner and on the following terms:




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   (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all customary closing
   expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to convey good and
   marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from seeking court approval of the
   sale pursuant to 11 U.S.C. § 363, either prior to or after confirmation of the Plan, if, in the Debtor's judgment, such approval
   is necessary or in order to convey insurable title or is otherwise reasonably necessary under the circumstances to
   implement this Plan.

   (4) At the Closing, it is estimated that the amount of no less than                      shall be made payable to the Trustee.

   (5) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the Closing Date.

   (6) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale Deadline:




 Part 8: Order of Distribution

   The order of distribution of Plan payments will be as follows:
       Level 1:    Trustee Commissions*
       Level 2:    Domestic Support Obligations
       Level 3:    Adequate Protection Payments
       Level 4:    Debtor's attorney's fees
       Level 5:    Priority claims, pro rata
       Level 6:    Secured claims, pro rata
       Level 7:    Specially classified unsecured claims
       Level 8:    General unsecured claims
       Level 9:    Untimely filed general unsecured non-priority claims to which the debtor has not objected
   *Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to
   exceed ten (10) percent.


 Part 9: Non Standard or Additional Plan Provisions

   Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of
   this Plan is checked. Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

       None.      If "None" is checked, the rest of Part 9 need not be completed.


 Part 10: Signatures

   By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or
   additional provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and consent to the terms of
   this Plan.


   Date: 5/19/2022                                                       /s/ Zachary Zawarski
                                                                         Zachary Zawarski, Attorney for Debtor(s)

   If Debtor(s) are unrepresented, they must sign below.


   Date:
                                                                         Debtor



   Date:
                                                                         Joint Debtor




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